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EXH|B|T A

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Ilir Lecaj, Plaintijj"in Propria Persona

15 Juniper Street
Ipswich, MA, 01938

   

IPSWICH DISTRICT COURT
Ilir Lecaj, a man, )CASE NR: .‘{,Z{ZIQ 5 C 000 2 33
)
minnij )vERJFIED coMPLAINT FOR

)DEMAGES 7» -_-,..;
VS. " >- :.:_

)
)
GREEN TREE sERvIcING LLC; )
)

Defendant: JURY TRIAL DEMANDED

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COMES NOW, the Plaintiff, Ilir Lecaj complaining of the defendant and each of
them as follows;

INTRODUCTION

This action is an action brought by the Plaintiff for violation of: M.G.L Chapter 93 sec 50~64,
Consumer Protection Laws; 940 CMR 07, 209 CMR 18.00; FDCPA 15 USC 1692, FCRA 15 USC
1681, Truth In La.nding Act (15 U.S.C. 1641 § 131) and Defamation of Character respectively.

L
THE PARTIES

2. Plaintiff l]ir Lecaj, is now and at all times relevant to this action an American National.
Plaintiff is a “oonsmner” as that term is defined within M;G.L. c. 93A, s. 2 (209 CMR 18.02) and 15

Usc 1681(a)(3).

3. Defendant GREEN TREE SERVICING LLC, (“Debt Collector”) is a Limited Liability
Corporation formed under the laws of the state of Delaware. It has a principle place of business located
at 345 St Peter St. #600, St Panl, MN 55102. Defendant Green Tree Servicing LLC is “debt collector”
as that term is defined by M.G.L. c. 93A, Sec. 2 (209 CMR 18.02) and 15 USC 1692 (a)(6).

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Ilir Lecaj, Plainti}f in Propria Persona
15 Juniper Street

 

lpswich, MA, 01938
NEWBURYPORT DISTRICT COURT
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mr Lecaj, a man, )cAsE NR:

) “
Plaintw' ) VERIFIED COMPLAINT FOR H

)DEMAGES 159 t
vs. ) `\`:2

)
GREEN TREE SERVICING LLC; )
Defendant: ) JURY TRIAL DEMANDED

 

COMES NOW, the Plaintiff, Ilir Lecaj complaining of the defendant and each of
them as follows;

MRoDUCTIgN

This action is an action brought by the Plaintiff for violation of M.G.L Chapter 93 sec 50-64,
Consumer Protection Laws; 940 CMR 07, 209 CMR 18.00, FDCPA 15 USC 1692, FCRA 15 USC
1681, Truth In Landing Act (15 U.S.C. 1641 § 131) and Defamation of Character respectively

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THE PARTIES

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Plaintiff is a “consurner” as that term is defined within M.G.L. c. 93A, s. 2 (209 CMR 18.02) and 15

Usc 1681(a)(3).

3. Defendant GREEN TREE SERVICING LLC, (“Debt Collector”) is a Limited Liability
Corporation formed under the laws of the state of Delaware. It has a principle place of business located
at 345 St Peter St. #600, St Paul, MN 55102. Defendant Green Tree Servicing LLC is “debt collector”
as that term is defined by M.G.L. c. 93A, s. 2 (209 CMR 18.02) and 15 USC 1692 (a)(6).

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JURISDICTION AND VENUE

 

4. The Newburyport Disti'ict Court has jurisdiction pursuant to MGL 93, Sec 240 the defendant is
registered to do business in Massachusetts. Defendant caused injury to a person within this state, to
plaintiff llir Lecaj, while it was engaged in business activities, to wit, debt collection, within this state,
The court has concurrent jurisdiction over Plaintiff tort state claims, Venue is proper as the occurrences

which give rise to this action took place within the State of Massachusetts.

III.
FACTUAL ALLEGATIONS
5. Plaintiff brings this action regarding the defendant, in it continued attempts to collect an

alleged debt defendant claim is owed thern. However Plaintiff is without knowledge of the alleged debt

defendant’s claim is owed.

6. On and about May 24, 2013 Plaintiff received a “Welcome to Green Tree” letter ii'om the
Defendant, (see Exhibit “A”) where Green Tree notiiies the Plaintiff the loan is transferred nom Bank
of Arnerica to Green Tree. The notiiication failed to show how and who did the transfer, who is the
owner of the Mortgage Note and the Promissory Note pursuant to TILA new Amendment (123 STAT.
1658 PUBLIC LAW 111-22_MAY 20, 2009); Helping Families Save Their Homes Act (see Exhibit
“B”). Since the first notification the Plaintiff sent QWR debt disputes on; June 20, 2013; Jan 25, 2014;
May 23, 2014; Oct 20, 2014 (see Exhibit “D”). Defendant answered all my QWR and dispute of debt
letters (see Exhibit “D”) but failed to comply with TILA Amendment.

7. On and about Nov 17, 2013, the Plaintiff obtained on line his credit report from three major
credit reporting agencies; Experian, TransUnion and Equifax. Plaintiff at this time found that defendant
Green Tree is reporting trade line of this alleged debt to all three credit reporting agencies (see Exhibit

E”).

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8. On and about Dec. 20, 2013, the plaintiff disputed the trade lines reporting with all three
Credit Reporting Agencies (CRA). A week later trade lines were removed from two agencies but not

Experian. (see, attached “Exhibit “F”).

9. On and about J an 24, 2014, the Plaintiff sent to the Defendant a dispute of debt letter where
(see, attached “Exhibit G”) the alleged debt was disputed and some of other questions were asked. The
plaintiff did not validate and verify the alleged debt. The next month the Plaintiff continues to try to

collect the debt by sending monthly statements

10. On and about March l, 2014, the Plaintiff sent to the Defendant Green Tree Servicing LLC
an offer Pay Off Account Proposal where Plaintiff asked the Defendant to pay off the account in
exchange of the Original Mortgage Note. I was trying to settle the debt in good faith. Together with the
Pay off proposal the Plaintiff attached a copy of the bankers cheek with the right amount (see, attached

“Exhibit “Hl”and “HZ”).

11. On and about March 6, 2013, Kevin Miller, Regional Manager of Green Tree Servicing LLC
fi‘om Bedford NH, contacted the Plaintiff via email. (see, attached “Exhibit [”) Kevin wanteETto
arrange a place and time to exchange certified funds. His email asked me to call him, l sugge§jed to rchd
my letter before we arrange the appointment and I reminded him that is going to be an exchange of _' v

banker check for the original Mortgage Note and Promissory Note. Right after Plaintift’s ema§l,

Regional Manager, K¢vin Miller, stopped any commumcaaon with the Plaintiff -_~;:
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411 r`~
12. On and about Mar 26, 2013, the Plaintiff obtained the Credit report from Experian Credit
Bureau. Plaintiff at this time found that defendant Green Tree is still reporting trade line of this alleged

debt Experian Credit Bureau. (see, attached “Exhibit J”)

13. On and about Oct. 16, 2014 Plaintiff obtained the credit report from credit reporting bureau
TransUnion. Plaintiff at this time discovered that the Defendant has not removed the trade lines and
three inquiries from the Defendant to obtain Plaintiff’s consumer credit report on these dates; May

10,2013; Jan. 6, 2014 and Sept. 03, 2014, (see, attached “Exhibit K”)

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VIOLATION OF M.G.L 93 sections 50-64
209 CMR 18 and FCRA 15 USC§l681
BY GREEN TREE SERVICING LLC

14. Paragraphs 1-13 are re-alleged as though fully set out herein.
15. Plaintiff is a “consumer” within the meaning of the MGL 93 Chapter 24 and/or CMR 209,
18:02, FCRA, 15 USC§l681a(c)

16, Defendant Green Tree Servicing LLC “credit furnisher” within the meaning of the 201 CMR
16.02 and / or 15 USC§l681a(c). TransUnion, Equifax, and Experian are “credit providers” within the

meaning of 15 Usc§1681(a)(t).

17. Plaintiff’ s consumer credit report is a consumer report within the meaning of the FCRA, 15

Usc§1681(a)(d).

18. The FCRA, 15 USC§l681(b) defines the permissible purpose for which a person may obtain
a consumer credit report. Such permissible purposes as defined by 15 USC§1681(b) are generally, if the
consumer makes application for credit, makes application for employment, for underwriting of insurance

involving the consumer, or is proffered a bona fide offer of credit as a result of the inquiry.

19. Plaintiff notified defendant on May 5, of their violations in an attempt to mitigate his
damages and obtain settlement prior to bringing this action. Plaintiff received no reply from defendant

after servicing notice upon them. Plaintiff sent a second notice as a condition precedent to defendant on

DATE, and still no response was received.

20. Accordingly the discovery of the violations stated herein occurred on Nov. 17, 2013; Oct. 16,
2014; and are within the statute of limitations as defined in the FCRA, 15 USC§l681p.

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21. On dates May 10,2013; Jan. 6, 2014 and Sept. 03, 2014, defendant obtained Plaintiffs
consumer credit report with no “permissible purpose” and appears to be a violation of 15 USC §1681(b).

22. The Defendant Green Tree Servicing LLC received notice from the three major credit
reporting agencies Equifax, Experian and TransUnion after the Plaintiff disputed.

23. At no time did Plaintiff give the defendant permission to obtain his consumer credit report
from any credit reporting agency. The actions of the defendant in obtaining Plaintiff’s consumer credit
report with no permissible purpose or Plaintiffs consent was a willful violation of 15 USC§168 1 (b), and
an verified complaint for damages egregious violation of Plaintiff’s right to privacy. Defendant’s

violation may also be a criminal violation pursuant to 15 USC§l681q.

24. Defendant had a duty to properly ascertain if there was in fact any legitimate permissible
purpose for obtaining Plaintiff s consumer credit report. Defendant however breached said duty by
failing to do so. There was no account that Defendant had a right to collect, resulting in defendant
obtaining Plaintiff s consumer credit report. Therefore Plaintiff may be entitled to damages by operation
of law. Wherefore, Plaintiff demands judgment for damages against the defendant GREEN TREE
SERVICING LLC for statutory damages of $1000.00 for each credit pull pursuant to 15 USC§l681n.

Y_._
COUNT TWO
VIOLATION OF M.G.L 93 sections 50-64
940 CN[R 07:08 and FCRA 15 USC§l681
GREEN TREE SERVICING LLC
25. Paragraphs 1-13 and paragraphs 15-24 are re-alleged as though fully set out herei)i:;
26. Plaintiff is a “consumer” within the meaning of the MGL 93 Chapter 24 and/or CMR 209;
18:02. '

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27. Defendant Green Tree Servicing LLC “credit furnisher” within the meaning of the 201 CMR
16.02 and / or 15 USC§l681a(c). TransUnion, Equifax, and Expen'an are “credit providers” within the
meaning of 15 USC§lGSl(a)(f).

28. Plaintiff’s consumer credit report is a consumer report within the meaning of the FCRA, 15
USC§l681(a)(d).

.....

include, but are not limited to, the following:

(a) Defendants Green Tree Servicing LLC willfully violated 15 U. S. C. §16813-2(a)(3) bj? if tlie`
completeness or accuracy of any information fumished by any person to any consuni`éi "'
reporting agency is disputed to such person by a consurner, failing to furnish the information
to any consumer reporting agency without notice that such information is disputed by the
consurner,

(b) Defendants Green Tree Servicing LLC willfully violated 15 U.S.C. §1681s-2(b)(1)(A) by,
aner receiving notice pursuant to §1681i of a dispute with regard to the completeness or
accuracy of any information provided by a person to a consumer reporting agency,
negligently failing to conduct an investigation with respect to the disputed information

(c) Defendants Green Tree Servicing LLC willfully violated 15 U.S.C. §1681s-2(b)(B) by, after
receiving notice pursuant to §1681i of a dispute with regard to the completeness or accuracy
of any information provided by a person to a consumer reporting agency, failing to review all
relevant information provided by the consumer reporting agencies

(d) Defendants Green Tree Servicing LLC willfully violated 15
U.S.C. §1681s-2(b)(C) by, after receiving notice pursuant to § l681i of a dispute with regard

to the completeness or accuracy of any information provided by a person to a consumer
reporting agency, failing to direct such consumer reporting agencies to delete inaccurate

information about the plaintiff pertaining to the account

30. M.G.L Chapter 93, Sec 54 (f) says:
(f) Upon receiving notice of a dispute notice pursuant to paragraph (a) of Section 58 with regard

to the completeness or accuracy of any information provided to a consumer reporting agency, the

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person that provided the information shall (1) complete an investigation with respect to the disputed
information and report to the consumer reporting agency the results of that investigation before the end
of the thirty-business-day period beginning on the date the consumer reporting agency receives the

notice of dispute from the consumer in accordance with paragraph (a) of section fifty-eight and (2)

review relevant inj?)rmation submitted to it.

WHEREFORE, Plaintiff demands judgment for damages against Defendants Green Tree

Servicing LLC for actual‘or statutory damages, and punitive damages, attorney’s fees and costs,

pursuant to 15 U.S.C. §168111.

Y_I.
COUNT THREE
VIOLATION OF M.G.L 93 sections 50-64 _é
940 CMR 7 :08 and FDCPA 15 USC§1692 §
GREEN TREE SERVICING LLC ;_Fi]

31. Paragraphs 1-13 and paragraphs 15-24 are re-alleged as though fully set out hereinn

32. Plaintiff is a “consumer” within the meaning of the MGL 93 Chapter 24 and/or Cl\irl:i:l 209,-1 `
18:02, and FDCPA, 15 U.S.C. §1692a(3) m

33. Defendant Green Tree Servicing LLC is a debt collector within the meaning M.G.L. c. 93A,
s. 2 (209 CMR 18.02) and FDCPA, 15 U.S.C. §1692a(6) that was attempting to collect a debt for
“household purposes” as defined in 940 CMR 7.03.

33. By continuing to collect without verification the Defendant appears to violate 940 CMR 7.08
and 209 CMR 18.18, 15 and USC.§1692g(b) (FDCPA), where partially says:

(2) If the debtor, or any attorney for the debtor, notifies the creditor in writing within the 30-day
period described in 940 CMR 7.08(1), that the debt, or any portion thereof; is disputed, the creditor
shall cease collection of the debt, or any disputed portion thereof until the creditor verifies the debt

~ and provides the debtor, or any attorney of the debtor, by first class mail, the following materials.'

34. Plaintiff served defendant with a Notice of Dispute in compliance with 940 CMR 7.08 and 15
USC§l692g. 15 USC 1692g requires defendant to provide Plaintiff with verification of the alleged debt

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once received. 15 USC 1692g(5)(b) requires defendant to cease all collection activity until the debt
collector obtains verification ofthe alleged debt. Defendant failed to provide one scintilla of proof of
their alleged debt, However defendant continues to make attempts at collection of the alleged debt
through erroneous credit reporting and obtaining the credit report of the Plaintiff:

35. Defendant violated the FDCPA, and caused damages to Plaintiff by their failure to comply

with the Act. Defendant’s violations include, but are not limited to the following;
a. Defendant violated §1692(]') of the FDCPA by using unfair or unconscionany means

in connection with the collection of an alleged debt;
b. using unfair or unconscionable means to collect or attempt to collect a debt, in

violation of 15 U.s.C. §16921(1);
c. Defendant violated the 15 USC§l692(e)(8) requires debt collectors to communicate the

disputed status of a debt if the debt collector ‘knows or should know’ that the debt is disputed,
standard requires no notification by the consurner, written or oral, and instead, depends solely on

the debt collector's knowledge that a debt is disputed, regardless of how or when that knowledge

is “acquired.”
d. Defendant Violated 15 USC 1592g(a)(2) by not providing the Plaintiff with the name

of the creditor to whom the debt is owed;

51. Specifrcally defendant “GREEN TREE SERVICING LLC” knew it was not entitled to

collect on the non-existent debt.

WHEREFORE, Plaintiff demands judgment for damages against Defendants Green Tree

Servicing LLC for actual or statutory damages, and punitive damages, attorney’s fees and cos;_t§, ;;;:;

pursuant to 15 U.S.C. §1962k. §
.3§,»`§
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vioLATIoN oF “TRUTH 1N LANDING ACT” (TILA) an
123 sTAT. 1632 PUBLIC LAW 111-22_MAY 20, 2009
15 U.s.c. 1641 § 131
GREEN TREE sER'vIcING LLC-defendant

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52. Paragraphs 1-13 and paragraphs 15-24 are re-alleged as though fully set out herein.

53. The defendant never provided the information about the new owner of the Promissory Note
and the Mortgage Note. The Defenth alleges that they entitled to collect the “accoun ” that means
Defendant has to obey 15 U.S.C. 1641TILA Amendrnent which partially says:

SEC. 404. NOTIFICATION OF SALE 0R TRANSFER OF MORTGAGE LOANS.
(a) IN GENERAL.-Section 131 of the Truth in Lending Act (15 U.S.C. 1641) is amended by

adding at the end the following:

“(g) NOTICE OF NEW CREDITGR._
"(]) IN GENERAL.-In addition to other disclosures required by this title, not later than 30

days after the date on which a mortgage loan is sold or otherwise transferred or assigned to a third
party, the creditor that is the new owner or assignee of the debt shall notify the borrower in writing of
such transfer, including-

"(A) the identity, address, telephone number of the new creditor;

“(B) the date of tran.sfer;
“(C) how to reach an agent or party having authority to act on behalf of the new creditor,'

“(D) the location of the place where transfer of ownership of the debt is recorded,' and
“(E) any other relevant information regarding the new creditor.

54. WI'IEREFOR,E, Plaintiff demands judgment for damages against Green Tree Servicing LLC

for actual or statutory damages, and punitive damages, attorney's fees and costs, pursuant to 15 U.S.C.

§1640(2)(3). g
VIII.
COUNT FIVE

VIOLATION 0F UCC- § 3-603 H

940 ClV[R 7 :08 and FDCPA 15 USC§l692
GREEN TREE SERVICING LLC-defendant

55. Plaintiff sent a proposal on March 15‘, 2014 (see Exhibit H) to pay off the “account”. The
Defendant ordered the Regional Manager Kevin L. Miller to communicate with the Plaintiff. Kevin L.
Miller was not aware that Green Tree Servicing LLC had to perform too. As soon as the Plaintiff
reminded him the Defendant has to bring to the table the original Promissory Note and Mortgage Note,
Kevin terminated immediately every communication with Plaintiff. (see Exhibit I) By refusing the pay

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off proposal, the Defendant seems to violate Chapter 20 of the Mortgage contract and UCC - § 3-603 of
MGL.

56. Defendant never gave notification to Plaintiff for the owner of the Promissory Note and the
owner of Mortgage Note pursue to mortgage contract and TILA, by doing so the Defendant prevented
the Plaintiff to contact the original owner/s or the agent/s who has the authority to contract with the

Plaintiff. Is the Defendant tortuous interfering with Plaintiff ability to communicate with the lender or

the owner in due course?

57. By refusing the pay off of the account, the defendant is violating FDCPA 1692e. The
Defendant Green Tree Servicing LLC is not entitled to collect on this “account” and this appears to be

an unfair or deceptive trade practice and an unconscionable act under the Fair Debt Collection Practices

Act.

58. In good faith I am going to put the money in a Court’s escrow account for six months and
when the Defendant shows up with the note, the Plaintiff will pay it off. The Plaintiff wants to be sure

that the original note is going to be out there, l have to protect my own interest

IX
PRAYER FOR RELIEF 1!?€1.

WHEREFORE, the Plaintiff prays that judgment be entered against Defendants: '__'

1. Actual damages pursuant to 15 USC §1681(b) and 209 CMR (18) against Defenddiiis;

2. Statutory damages of $1,000.00 and attorney’s fees per cause of action pursuant to 15 USC
§1681n against the Defendant Green Tree Servicing LLC,

3. Statutory damages of $1,000.00 and attorney’s fees per cause of action violating 15 USC
§1692e (10) and §1692 g(B) against the Defendants pursuant to 15 USC §1692 i(a)(2).

4. Statutory damages of $1,000.00 and attomey’s fees per cause of action violating 15 U.S.C.
§1681s-2(a)(3); 15 U.S.C. §1681s-2(b)(1)(A); 15 U.S.C. §1681s-2(b)(B); 15U.S.C. §1681s-
2(b)(C) and M.G.L Chapter 93, Sec 54 (f) pursuant to 15 USC §1681n against the Defendant
Defendant Green Tree Servicing LLC

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5. Actual and statutory damages of up to $1,000 per violation TILA 15 USC 1641 § 131,
pursuant to 15USC 1640 (2)(a) against the Defendant Green Tree Servicing LLC

6. That the court declares Plaintiff is not indebted to Defendants and orders to return all the
payment made from the beginning;

7. Such other and further relief as may be just and proper.

TRlAL BY JURY DEMANDED ON ALL COUNTS

Dated= Dec. 16;2014

-Respectfully submitted,
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green tree

PO Box 6172
Rapld City. SD 57709-6172

'l`cl 1-855-675- l030
G'I`Servicing.com

Do Not Dlsearcll lmporiant Account lnformation Enclosed.

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15 JUN|PER ST May 24. 2013
lPSW|CH MA 01938-1632

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Bank of Amerlca N.A. (“Bank of Amerlca“) Account Number: 54110415
Green Tree Servicing LLC ("Green Tree“) New Aeeount Number: 638622968

Dear lllr Lecai'.

Welcome to Green Tree. The servlcln| of your mortgage loan - that is, the right to collect loan payments from you
- ls belng transferred from Bank of Amerlca to Green Tree effective June 1, 2013, The servicing transfer does not
affect any terms or condition of your current mortgage loan other than the terms dlreet|y related to the servlc|ng of
your |oan. You can mall your payments directly to Green Tree at the following eddress: Green Tree Servicing LLC,

PO Box 7169, Pasadena, CA 91109-7169.

Green Tree wll| begin poe!lng payments to your account on or about June 10. 2013, lt your payment was received
by Green Tree or Bank ot Amerlca prlor to the posting date. we will apply your payment as of the day that lt was
received and no late lee will be assessed to your accounl.’

You should be receiving your first statement from Green Tree by mall the week of June 17, 2013. lt you have any
questions about the transfer of your mortgage loan servlc|ng to Green Tree, we encourage you to vlsit:

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There you can reglster to securely access your account onlln e. make a payment establish a recurring electronic
mortgage loan payment end obtain answers to frequently asked questions

We are pleased to have you as a new customer. The following pages include more detailed lntormatlon about our
seNfces, including details about payoff requests and insurance loss payee lnformatlon. Please keep this
documentation lor future reference. Should you ever need addltlonal account lnformuilon, please visit our weusite at
GTServicing.com, or contact customer service toll-free at 1~855-675~1030, or write to Green Treo'Customer

Servlce. PO Box 6172, Rapld C'ny. SD 57709-6172.

At Green Tree, we build relationshlps that work and we look forward to providlng you with quality serv|ce for years
to come.

Respectfu||y.

Green Tree

' Please note: lt you had an automatic payment(s) set up through Bank of Amerlca. your transactlon was cancelled as pan of
the transfer of servlc|ng to Green Tree. You can easily make an electronic payment or reestablish a recurrlng automatic loan
payment on our website', GTServlcing.com.

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NOT|CE OF ASS|GNMENT. SAl.E. OR TRI\NSFER OF SERV|C|NG RlGl'lTS

You arc hereby notlllcd that the servicing ol your mortgage loori. that rs. the right to collect payments troni you, is being assignedl
sold or lranslerred lrom Bank of Atnelioo N.A. ("Bonk ol Ainsrioo“l lo Green Trol Servicing LLC ('Greei\ Tiao') olleclive Juno 1l

2013

the assignment sale or transfer ot the servicing ot llio mortgage loan does iioi ellec_t any term or condition ol the mortgage
instruments other limit the terms directly roluled to ilie servicing ot your loan

Excopl iri limited circumstances lite law requires lhol your present serviciti send you lii'is notice al least l.’r days liclore tha
olleclive dale oi lransier. or ot closing Your new scrvir'.er must also send you this notice no |ntor titan l5 days alter this ollcclive

nolo or el closing

Yuul present servicer is Bank ot Arrlericri. ll you have niiy questions relating lo lhe |renslei ot servicing lroin your present
ssrviceir. crill Custoiiisr Sorvico to|l~lreo ot 1¢800'589~0607 between 7‘00 a.rn and 7'00 p.in, Mondriy llirough Fridny. all US lime

7.0|\08

Your new survicor will lie Green Tree. The business ot|rlress lor your new servicer is' PO Box 6|72. Rripid Cily. Sl_) 57709~5i72
Tci oiisuro timely posiing cl your payinenls. please send payments to the address indicated below

ll you liovo any questions relating lo lite transfer ol servicing to your new seivir:er, call Custon\er -Servlce toll lieu nl 1-855'675-
1030 between 700 a.rii and soo p.ni cST. Mon<liiy through Fridey or between 7~00 a.m end '1'00 p:m CST. Ol\ milwde

The date tlint your present ssivicor will stop accepting payments iroiii you is May 51, 2013. Tiie date that your now servicor will
sti\rl accepting payments trorii you is .luiie l, 2013 SEND ALL PAVMENTS DUE ON OR AFTER JUNE 1, 2013 TO VOUR NEW

SERV|CER:

Greoii Tree Servicing LLC
PO Boii 7169
Fasartoim. CA 91109 - 7169

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insurance olr. l ur optional products lhiii you riley have on l|\e loan you will need to contact lite company providing the insurance
rn elliot i)rririur;i directly tor continued coverage ui nnrollinont

NOT|CE ABOUT YOUR R|GHTS

 

`fou should be owens nl tire lollo\ving inloiriinllon. winch is set out in inure detail in Section 6 nl tire ltaril Eslriiri Soitleiuoiil
lii')i'.or|iiros r’\ot t |".ESP)\ ) (12 l.| S C §2605)

l.lurnir_i llii= 'ill i.lny period lollowiiiu the ellnctivu dole ol the ironslei nl the loan servicing a loan pnyiiicni rrli‘.oivorl ny your
present . .ei holors its due rlle niny iint tin trenton l)y your uaw sorvu:er as |z\io. and n |rilo ice iiiuy riot lie iniuniici| nn

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Sutt|ioi\ 6 ul |tESPr\ rl'il l.iS C §2605} gives you cortron consumer rights il you saint ii 'r\uol'iliorl written reqtiosl' lo your
|onr\ srrrvn:or concerning this servicing el your lonn. your seitr|l:or iiiusl provide yoiiwr!h :i\ltrnlli:ri nc|-irlow|odgernonl within 20
firmness tirin ot receipt ot your request n 'rinanlied written request is o written correspondence other than notion on a
irayinriul cniiur.ir\ or other payment medium supplied try trio servrcor. which mrlriilos your name and account nunilier. nntl
yuur reasons loi rim request li you worn to sorrri a 'quniilicd written requesl' legtlrtlirrg the servicing ol your loan lo your
now irorviror. ii ii\uisi tie sent to this artrlross Grrron Trsri. PG Boir Gl?li. Rnpid City. SD 5'.??09'8|?5

Not later limit 60 iJusinoiis Deys prior receiving your request your snriirr.sr must make tiny appropriate corrections to your
occoinil. and must provide you with o written clanlicotion regarding any dispulii Duririp this 80 Birsineso D:iy porro¢|. your
scrviccr may net provide information to n consumer reporting agency concerning ony overdue payment ro|olor| to such
period or qualified writierr request Hoii\rovar. this does not prevent the soiv‘ir.irr nom initiating ioicr.lr.isure il proper grounds
exist under the mortgage documents

A Biisiriess Day is s clay on which the oltices lel the business entity are open lo the public lor carrying on substantially eli ol
its business lunclloris.

Seclioii 6 ot RESPA also provides lor damages and costs lor individuals or classes ot individuals lri CIiClI"lslaf\CoS Wh€fo
servicers are shown lo have violated the requirements of that Sectiun. Vou should seek legal advice it you believe your
rights have been violatedv

 

 

ns your iuturs servicer, we al Green Tree took lorward to serving yon.

Dol:iultstl Accoiint Notice: lf your account was in dolault iit thc time servicing rights were traiisterrod to Grooii Trce, "
please note that this ls an attempt to collect a riehl and any lntonnntlon obtained may he used tor that purposn.

 

This communication is lrom a debt coilector. ll is an attempt to collect a debt, end any information
obtained will be used Ior that purpose.

0\102'|¢.\ '¥lfl)“?|i~' tl‘,'"rlll$ V-l$'.l]i? W

Ca‘§§l:lB-cV-lOZBG-LTS Document 1-1 Filed 02/03/15 Page 16 of 41

l__ l

123 STAT. 1658 PUBLIC LAW 111-22-MAY 20, 2009

(2) funded by a combination of cash or equit}r from private
investors and funds rovidecl by the Secretary o the Treaeur_y
or funds ap ro§ria under the Emergency Economic Stabiljzs-
tionAct ot 00 .

(t) Orreer as Cos'rs ca Psoomm Cnonoce.~thwithstandicg
the amendment made by section 202(b) ot` this Act, paragraph
iB) of section 115(a) of the Emergency Eoonomic Stabiiization Act
of 2008 (12 U.S.C. 5225) is amended by inserting “ as such amount
is reduced by $1,259,000,000 ” after “svoo,ooo,ooo,doo”.

{g} REGul..A'I‘IoNe.-The Secretary of the Treasur_v may prescribe
such regulations or other guidance as may be necessary or appro-
priate to define terms or carry out the authorities or purposes
of this section.

SEC. 408. R.EMOVAL OF REQUIREMENT T0 LIQU[DATE WARR.ANTS
UNDERTHE TARP.

Secticn lll(g) of the Emergency Econoinic Stabi}icat.ion Act
of 2008 (12 U.S. . 5221(g)l is amended by striking “shall liquidate
warrants associated with such assistance at the current market
pcice” and inserti ", at the market price, may liquidate warrants
associated with sue aesietance”.

SEC. 404. NOT|FICATION OF SALE OR 'I'R,ANSFER 017 MOETGAGE LOANS.

(a) IN GENERAL._Section 131 of the Truth in lending Act
(15 U.S.C. 1641) is amended by adding at the end the fellowing:
“{gl No'nca on New Cneolron.-
Dcadlinc. “(1) IN GeNanAn--In addition to other disclosures required
by this title, not later than 30 days after the date on which
a mortgage loan is sold or otherwise transferred or assigned
to a tbir part , the creditor that is the new owner or assignee
of the debt ch l notify the borrower in writing of such transfer,

includin$--
‘(A) the identity, address, telephone number of the
now creditor;
“(B) the date of' transfer;
“(C) how to reach an agent or party having authority
to act on behalf of the new creditor;
"(D} the location of the place where transfer of owner-
ship of the debt is recorded; and
“(E) any other relevant information regarding the new
creditor.

“(2) DEFINPI‘ION.-As used in this aubsection, the term
‘mortgage loan’ means an consumer credit transaction that
is secured by the principal wallin of a consumer.”.

f {b) Pswa're R:GHT or AcTIoN. ection 130(a) of the Trnth
m heading Act (15 U.S.C. 1640(3)) is amended by inserting “sub-
section (f') or (g) of section 131,” after "section .125,".

TITLE V--FARM LOAN RESTRUCTURING

SEC. 501. CONGRESSIONAL OVERSIGH'I‘ PANEL BPECIAL REPOR'I‘.

Section 125(b) of the Emergency Economic Stabilization Act
of 2008 (12 U.S.C. 5233(b)) is amended by adding at the end
the following:

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Jl,l¢\/l€, 20 .) 20 ig

Illr Lecaj
15 Juniper Suect
lpswich, Mnssechusetts 01938

VIA Celfifi¢d Muil# __IZQLLM_V.Q_QQQQ._ZM

Green Tree Servicing LLC
I’.O. Box 6176

Rapid Ciry sD, 57709~6176
Phone: 8$5»675-1030

Attn: Mortgage loan accounting dcpamucnt
RE Loan#`: 54110415 (you.tl now acc# 688622968)

Dcar Slr / Madam,

'l'his is a Qualll`ie.d eritcn chucst, pursuant to Rcol Estate Settlcment and Ptocedurcs Act section
(2605(¢:).

Thanlc you for the welcome leiter. Green 'l'rcc LLC Sorvicer is now my new alleged servicer. Bel'ore l
start making payments, l need to clarify few problems with your lottcr:

Firsl and formost, l, llir Lecaj, declare lhat, l have no problem to pay the "alleged loon” upon
proof of your claim:

\
You have created anew account without my consent this means that a now contract was signed, please

show mo the new contract that I have with you?

Plcass proof that you erc the holder lo due course of the notc.

P|ease, explain of what you mean by mullgomenl,l cale, or irenefer. Wlu'ch one is it? l"leuse include c
copy ofany all sssignmeuls, proofof sele, pmofofhenaf`cr and to whom.

Lss: "ownar of the notc" was not Bank ofAmerlcs. how is il possible that BofA can sell thc Samo “noto"
twice to two different “sorviccrs"?

According-to UCC 3-501 you have to "exhibit the note every time you demand a paymenl”, please dol ll
As you say in your Wclcome letter, Green Txcc LLC Servicer is a third party debt collocto r, pleuso,
show mc the contract we have both signcd, where I promisol will pay you?

Scncl me a complete payment history that can be easily road and understood including, but not limited
lo, the dates and amounts of all the payments made on the loan to date;

8. Scnd me a breakdown of the amount of claimed arrears of delhlquencies;

9. Scnd me all the payment dates, purpose of payment and recipient of all escrow items charged to our

account since the loans inception

:‘*E“!"

G\El\

.`*

ln Ocdcr to avoid any misunderstanding all communication shall henceforth be on the moord, i.o. in writing
and duly scrvcd. Pleasc serve all commmxications and process directly lo the mailing address provided bolow.
r"
l l

25 ' _ , visas

l am hereby requesting in writing that neither you, nor any agent on your behalf, cell mc at home or
at work. Do not call me at my home number, or ut my place of employment Pleaso give this information

to the appropriate parties within your company so they may comply.
'l`hank you for tracing to acknowledge and answer the request s required by Real Estate Seltlcmont and

Pcocedurcs Act section (2605(e)).

Vso' rfva r um
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llir Lecaj
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)ss. JURA'I'
Srccc /l//r?£'é£ §§de )
on ma 1&¢oy mims 2013, cum mc.§' ‘ augmented-1 md nor uncommon md

couluy. personally appeared yournnm.c, who proved to mo on cho basic of satisfactory evidence to to the pmco who was mm and
subsch lo thc within l lshummt, by the above-named pany'a unlimited commerc|nl linhllhy, as truo, correctl complete and norm

role g, Wi s d lhla_g'_ZQ__day ol'lunu 2013.
SEAL

 
  

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My Commiulon Bxplms

 

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llir Lecaj

15 Juniper Street

l`pswich, Massachusetts 01938
Date: Jan 24, 2014

VIA Certified l\/lail# 7011 ZOOQ _O_QQO QfZ§Q Z4Q§

Green 'li`ree Servicing LLC
P.O. Box 6176

Rapid City SD, 57709-6176
Phone: 855~675-1030

§_!_E__BT DI.PU'_E`E ANlD VALJDATION OF DEBT
Your account # 68862296-8

 

RE: Your letter dated January lO, 2014
Dear GREEN TREE\SERVICING LLC

I did send you a WQR dated June 20, 2013 and you answered with some print screens of alleged
mortgage, that have nothing to do with me or with you. Even thought the QWR had some very good
questions, 1 have to apologize for sending you QWR. You are note bank, (creditor) you arc a third party
debt collector; so, a different set of statutes apply to you: FDCPA, FCRA, TCPA and Massachusetts

consumer protection statucs.

li dispute the alleged debt; I do not recall signing any contract between us. You say that you are
serving for Bank of America but in the mean time you say “the account is owned by Fannie Mae”.
Please validate the debt, bring forward any admissible evidence that can prove that l own you
anything

ln my previous QWR, l asked you how did you attained this account and you never answered
that. lt is my duty to find out if l am paying the right party. Pursue to UCC 3-501, I am entitled to see
and inspect the original wet note.

Pursue FTCA and FDCPA, you do NOT have my permission to report or create any account or
pull my credit. I ask you to delete the credit pull from my credit account; you had no permissible
purpose to do it, except if you show same proo:i", which l doubt. FCRA allows credit pulls only for
creditors with a permissible purpose or with my consent I spent few hours reading TCPA (15 USC
1861) from 601-626 and could not find anything to justify your pull and report in my account If you try
to sell this account you must mark it as DISPUTED.

Please be advised that there is private right of action under TCPA and FDCPA. lam hoping that
we will find a solution of this controversy through private administrative process This is my second try,
will be waiting 30 more days to get a serious answer from you, but please do not send any copy of
public documents

Please, can show me the trail of my payments made to you, going to where? So l know who am l

paying?
l will stop paying the alleged debt, upon verifying the debt l will resume payments

Thanlc you

Ilir Lecaj (sign) jjé 'i/ MGLL§£ date QZ "* Z___;_.Z_QH"

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Ilir Lecaj
15 Juniper Street
lpswich, Massachusetts 01938

VIA Certifled Mail# 7Q_ ll 2000 OQQQ 97SQ 8922

Green Tree Servicing LLC
P.O. Box 6176

Rapid City SD, 57709-6176
Phone: 855-675-]030

CEASE A§D DESIST

RE: Your letter dated April 4, 2014

 

Your account # 68862296-8

Dear GREEN TREE S.ERVICING LLC

l have never had the intention to NOT pay legitimate debt. For over one year I have been trying
to find out if I really own Green Tree Servicing LLC any amount. l even gave you the chance to pay off
the alleged loan if you could prove I own you money.

One of my simple requests has been and still is that Green Tree Servicing LLC has to bring
forward any contract or statute that l have breached the duty to pay. G'l" has to show me where and how
I am obligated to make monthly payments GT have sent to my home address plenty of papers but none
of them is authenticated or verified and none of them show any duty for me to make monthly payments

l'f you think that you have validated and verify the alleged debt, please give me the name of the
employees from the original creditor who can authenticate the documents Also, I need to know the
name of the woman or man who if familiar with business records keeping practices with G'l`.

1 have asked Green Tree Servicing LLC to produce any fact that shows that I have damaged your
company. .Bring forward any competent fact witness that proves that l breached the duty to pay and this
caused Green Tree Servicing LLC financial and economic damage

Green 'l`ree Servicing LLC is violating the FDCPA and FCRA. Only a creditor can send a
mortgage default letter, if GT think that have an interest in my property, any legal action to enforce it
must be brought in a judicial district where the real property located

lf you are aware l am planning to tile a law suit. Attached is a draft of the complaint
I will be overseas for two weeks, when I come back on June 7 and I have not heard from GT, on

Monday, June 9, I will file the complainl

Pursue to M,G.L chapter 93, Sec 49 (e) l require that you cease any further communication with
l, ilir lecaj or my wife Flutura Leca_i. Contact me by email: ilecaj@jfisoft.net

Respectfully

nirLecaj (sign) _jZ/' ¢QIL<,% date M%LZ£,_Z£Z¢_

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mr Lecaj
15 Juniper Street
lpswich, Massachusetts 01938 _‘
VIA Certified Mail# "$""'r?)' ':§ '@t`>“,`~?.e> ¢:if,'><.=.'.u':i '1.~'.“>)'9‘~) C>tili€!r.".'l

 

Green Tree Servicing LLC
P.O. Box 6176

Rapid City SD, 577 09-6176
Phone: 855-675-1030 `

QUALIFIED WRI'I`TEN REQUEST

This is to notify you hereby put on NOTICE under the authority of the Real Estate
Settlement Procedures Act (RESPA) 12 U.S.C. § 2605 (e), Regulation X at 24 C.F.R. § 3500,
the Truth-In~Lending~Act (TILA) § 1604(e), 15 U.S.C. §§ 1601 et seq. (1968) and 1692 et seq.,
and the Fair Debt Collection Practices Act (FDCPA) 15 U.S.C. §16920 to Cease and Desist
collection actions and validate the alleged mortgage debt,

In the last statement here are new fees and charges- can you please explain where do they
come from? If you allege that they are added for home insurance, I have home insurance and
we have provided you with a copy of the home insurance Please explain.

We are requesting copies of all Documents since consummation of the loan to further
insure a Validation of Debt, and a Request for accounting.

This is my second QWR and the second Dispute Validation / Vcrltication of debt, You
have not provided any satisfactionary explanation of any of my requests

According to the Mortgage Note, specifically the Sale of Note, Change of Loan Servicer,
Notice of Grievance section, it specifically states; The Note or a partial interest in the Note
(rogether with this security agreement) may be sold one or more times without prior notice.

We have never received notice from anyone regarding the sale of the note and demand
that you provide said notices.

Green Tree Servicing LLC has yet to prove that has any authority to enforce the
Mortgage, collect payments, or even mail anything to us, let alone makes threats; you have put
yourselves in a precarious position to say the least. We have never gotten any notification form
the lender for any of transfcr, sold or assigned the Promissory Note of the Mortgage Note.
According to chapter 20 of the Mortgage Note we were supposed to be notified

Change of Loan Servicer specifically states; If there is a change in the Loon Servicer,
Borrower will be given written notice of the changes.

We demand to see thc notices from the Lender as required by law. The issue at hand is
very simple, the Mortgage requires the Lender to send us notice that they have sold or assigned

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the servicing rights otherwise we have no way of knowing that Green Tree Servicing LLC has
the right to collect or enforce payment on behalf of the owner of the note,

We have no obligation to pay Green tree and have never officially been informed by the
note owner, who ever that may be, or the original lender that you have the right to collect on
their behalf. I'f Green Tree fails to produce the proof of the required notices as stipulated within
the Mortgage, then we will have no choice but to pursue any and all legal remedies available to
us.

Pursue to TILA, Helping Families Save their Home Act amendment, (see attached) we
have to be provided with all information in 30 days included in 15 USC 1642 (l) A, B, C, D,
and E. More than 16 months have passed and no notification has been sent to us.

We hope that you understand`that we are not refusing to pay any obligations we might
have with the Note owner, but with all of the mortgage and foreclosure fraud lately we need
validation that the contractual obligations were met by both sides.

Thanks in advance for your prompt collaboration

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Case 1:15-Cv-10256-LTS Documew, 1-1 Filed 02/03/15 Page 22 of 41

‘_'- _r

green tree

 

P.O. Box 6172

Ftapld Clty. SD 57709~6172
1-800-643-0202

Fax 1-866-870~9919
GTSorvicr`ng.com

lanunry lO, 2014

lLlR LECAJ
15 JUNIPER ST
IPSWICH MA 0l938

RE': Green Tree Servicing LLC (“Green Tree”) Account No. 68862296 - 8

Dear ll'u‘ Lecaj:

This letter is in response to your correspondence received from Equifax regarding the credit
bureau reporting for the above referenced account with Green Tree. Please be assured Green
Tree takes your concerns very seriously.

The servicing of your account was transferred from Bank of America to Green Tree orr June 1,
2013, The servicing transfer does not affect the account terms and conditions, other than those
related to the servicing of the account A copy of the Green Tree welcome letter is enclosed for
your records.

In connection with the concerns outlined in your letter and in verification of your debt with the
original creditor, we have obtained and are enclosing a copy of the contractual agreement and the
payment history. After reviewing this documentation if you still dispute the validity of the debt
cr doubt the authenticity of your signature or believe your signature to be forged, please provide
us with further detail in support of your assertiorr. including any available supporting
documentation (e,g., aft'rdavits, cancelled checks, police reports, ctc.). This documentation
should be mailed to the above address for further research. Green Tree will respond accordingly

when the research is completed

Please be advised the Fair Credit Reporting Act (FCR_A) allows a creditor to pull a customers
credit report in connection with servicing the account Any inquiries on your credit report were
completed as part of the servicing of your accounts as permitted under FCRA.

If you have any questions, please call Customer Service (800) 643-0202, Monday ~ Friday 7 a.m.
to 8 p.m., and Saturday 7 a.m. to l p.m. CST.

Sincerely,

Green Tree
Customer Service Correspondeuce

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'l'lrl.r communlr.'nllr)n r'.r from a debt calle¢.'rr)'r. lt I.r an unempl m collect a debt, and any lnfr)rl'mnlon obtained will I)t' rr.rarlfor lth
purpose

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green tree

P.O. Box 6172

Hapld Glly. SD 57709'6172
1-800-843'0202

Fa)< 1-868-870-9919
GTServicing,com

February 13, 2014

ILIR LECAJ
15 JUNIPER ST
IPSWICH MA 01938

RE: Green Tree Servicing LLC (“Green Tree”) Account No. 68862296 - 8

Dear llir Lecaj,

This letter is in response to your recent correspondence regarding the above referenced account
with Green Tree. Please be assured Green Tree takes your concerns very seriously.

The Real Estate Settlement Procedures Act (“RESPA") permits account servicers to designate a
unique mailing address for receipt of a “qualified written request." This is to ensure that the
servicer receives the request timely in order to respond within the statutory time frame. Enclosed
is a copy of the Notice of Assignrnent, Sale, or Transfer of Servicing Rights sent to you.
According to the second page of the notice, qualified written requests are to be sent to Green
Tree Servicing LLC, PO Box 6176, Rapid City, SD 57709»6176. As such, your correspondence
is not considered qualified and does not trigger RESPA. Regardless, Green Tree responds
accordingly.

The servicing of the above account was transferred from Bank off America, N.A. to Green Tree
effective June 1, 2013. There were no changes to the account terms or conditions as a result of
the transfer. Please be aware Green Tree did not originate nor owns the account; it merely
services it for a- third party"'and can provide information from the servicing transfer date forward
Th_e account isiow`ned-.;by Fannie Mae, 2600 Wisconsin Ave. N.W., Washington DC 20216.
Fu`rt`h'er, please be advised that the owner does not service the mortgage account. All
correspondence and inquiries concerning the mortgage account should be addressed to the
account servicer. The servicer has authority to act on the owner's behalf with regard to the
administration of the mortgage account and respond to any questions about the mortgage
account.

Enclosed, please find copies of the account documents, payoff quote, and account payment
history available pursuant to your request. After reviewing this documentation, if you still
dispute the validity of the debt, please provide us with further detail in support of your assertion,
including any available supporting documentation (e,g., affidavits, cancelled checks. Police
reports, etc,). This documentation should be mailed to the above address for further research.
Green Tree will respond accordingly when the research is completed

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The property's mortgage identification number (“MIN") is 100015700033800794

When the Mortgage was recorded it was also placed in to Mortgage Elccnonic Registration
Systems, lnc. ("MERS“). This means that a recorded assignment was not required when this
loan was boughttsold to other lenders. Please be advised MERS is a process that simplifies the
way mortgage ownership and servicing rights are originated, sold and tracked Created by the
real estate finance industry, MERS eliminates the need to prepare and record assignments when
trading residential and commercial mortgage loans. You may track the assignments through
MERS. Their contact information is:

MERS
1818 Library Street, Suite 300
Reston, VA 20190
Phone: (800) 646-6377

lf you have any further questions or concerns, please contact Green Tree at (800) 643-0202,
Monday - Friday, 7:00 a.m. to 8:00 p.m. CST. and Saturday 7:00 a.m. to |:00 p.m. CST.

Sincerely,

Green Tree
Customc:jervice Correspondence

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lttuk/.W/jf‘ ('

Tltl.t communication i.tft'rt)n a debt callactot'. lt ls mt rtttettt/)t la collect rt debt, and any itt/ortmttimt obtained wlil ha ttmrlfm~ that purpose

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green tree

 

P.O. Box 6172

Ftapld Clly. SO 5W09-6172
1-800-643-0202

Fax 1-866-870-9919
GTSorvtctng.cnm

Jttne 26. 2013

ll..IR LECAJ
15 JUNIPER ST
IPSWICH MA 01938

RE: Green Tree Servicing, LLC (“Green Tree") Account No'. 68862296 ~ 8

Dear Ilir Lecaj:

This letter responds to your "qualified written request" received June 24. 2013. The purpose of a
qualified written request is to receive information, clarification or corrective action regarding the
problems and disputes with the servicing of an account.

The servicing of the above"accoun_t W'a`s. transferred from Bank of America to Green 'I’ree effective June l,
2013. There were no changes to the account terms or conditions as a result of the transfer. Please be
aware Green Tree did not originate nor owns the accoum; it merely services it for a third party. The
account is owned by Fan'nie Mae. Fannie Mae's address is 2600 Wisconsin Ave. N.W., Washington DC
20216. Further, please be advised that the owner does not service the mortgage account All
correspondence and inquiries concerning the mortgage account should be addressed to the account
servicer; The servicer has authority to act on the owner's behalf with regard to the administration of the
mortgage account and respond to any questions about the mortgage account.

We are in the process of retrieving and reviewing the origination and servicing files and other information
on the subject matter, in order to fully investigate your inquiry. Once all the relevant documentation has
been reviewed and the matter has been discussed with any relevant Green Tree personnel involved, we
will provide you with a written response You can expect to receive the written response within thirty
(30) business days from the date we received your correspondence

Thank you for your business. It` you have any further questions or concerns. please contact Green Tree at
'(800) 643-0202, Monday - Friday. 7-:00 a.m. to 8:00 p.m. CST. and Saturday 7:00 a.m. to 'l :00 p.m. CST.

Sincerely,

Green Tree
Customer Service Correspondence

/bkw/53/

’[`in‘.\~ communication is from a debt coilector. lt ts an attempt to collect a debt, and atty information obtained will I)e
tt.redfot' that purpose

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/

green tree”’
August 13, 2014

Mr. nir Lecaj
15 Juniper Street
Ipswich, MA 01938

Re: Consurner Financial Protection Bureau (“CFPB”): 140725-000568
Green Tree Servicing LLC (“Green Tree”) Account No: 68862296

Dear Mr. Lecaj:

l am in receipt of your complaint filed with the Consumer Financial Protection Bureau
(“CPPB”). Your complaint is regarding collection practices and debt validity.

On June 1, 2013, the servicing of your loan was transferred from Bank of America, N.A. (“Bank
of America”) to Green Tree. The transfer in servicing did not alter or change the original
contract Green Tree is a loan servicer and does not own this loan.

In connection with the concerns outlined in your complaint concerning the validity of the debt,
attached please find a copy of the original the Note (“Contract”) and recorded Mortgage. I have
also attached a copy of the payment history

Pursuant to your request, Green Tree has ceased all outbound telephone communication on your
account; nevertheless, for your convenience we will continue sending billing statements and
legally required notices unless otherwise requested.

Your account is next due for the September 1, 2014 payment in the amount of $318.92.

If you have any additional questions or concerns, you may contact Green Tree’s Customer
Service Dcpartment toll-free at (800) 643-0202, Monday - Friday 7 a.m. to 8 p.m., and Saturday
7 a.m. to l p.m. CST or your account representative Kasey M. at extension 65707.

Sincerely,

/_

Dawn M. Underdahl
Paralegal

Bnclosures

Legal/Ccmpllance (p) 651.293.4800 / (f) 651.293.5818
1400 Landmark Towers, 345 St. Peter Street, Salnt Pau|, Mlnnesota 55102

Case 1:15-Cv-10256-LTS Document 1-1 Filed 02/0§/15 Page 27 of 41

 

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__ _..-l '
IlirLecaj_"

15 Juniper Street
Ipswich, MA, 01938

EX`PER.[AN CREDIT BUREAU
P.O. Box 4500
Allcn, TX 75013

Date: Dec 16, 2013
Certitiedletter: 7011 2000 0000 9780 7437
Dear Credit Burcau

I am disputing the following items;

l. GREEN TREE account # 6886 22968

2. CAPITAL ONE (CAP ONE) account # 4003 4494 3078 0617
3. CI'I`I (CI'I`ICARDS CBNA) account # 4128 0038 2365 4119
4. BANK OF AMERICA ~ . account # 4313 0736 2339 6059 -
5. TCM BANK account # 4080 3794 1500

I have no contract nor have had any contract with the above mentioned companies, and
Would like to know exactly the process used by Exper.ian to verify.t.hese accounts. Plea.se be
advised I have no knowledge of these accounts, please delete these accounts from my credit

report.

6. I never lived on 7 Brown Sq. Ipswich, MA 019355, please delete this address from my
credit report.

Important note; Please delete all Hard Pulls; they had not had my approval or permissible
purpose to do it. To enforce my point, I arn attaching a certify cope of UCC 11, from Sec. of

State of Massaehusetts.
The UCC 11 is a blanket search, which serch to delete all the accounts that I dispute too.

Sincerely,

l _
~%L_D@WL LL/@.-'Zo/B
0 ' name he Date here

Please find enclosed a copy of my Driver License and Social security card to verify identity.

Enc.
State of Massachnsetts
)ss:

County of Essex

known to me by_M Q§ , , and to be a living man, who executed the forgoing
instrument and who duly acknowledged to me that he executed same for the purpose therein

contained In witness whereof, Iheretmto set my hand and official seal.

/

 

 

Case 1:15-Cv-10256-LTS Document 1-1 Filed 02/03/15 Page 29 of 41
Ili__r Lecaj

15 Juniper Str'e'et _
Ipswich, MA, 01938

Equi_fax loformation Services LLC
P .O Box 740256 ' _ _.
Atlanta, GA 303 74 _-

Date: Dec 16, 2013
Certiiiedlettcr': 7007 0220 0003 9300 4276

1 Dear Credit Bureau
l1. GREEN TREE _ account # esso 22968
2. cAPITAL oNE (CAP oNE) account # 4003 4494 30'78 0617
3. CI'I"I -(CITI_'CARDS CBNA) account # 4128 0038 2365 4119
4. BANK OF AMER.ICA b account # 431'3' 0-736 2339 6059
5. TCM BANK account # 4080 3794 1500

I have no contract nor have had any contract with the above mentioned companies, and
would like to know exactly the process used by Experian to verify these accounts P.lea'se be
advised I have no knowledge of these accounts, please delete these accounts iifom my credit

report.

6. I never lived on 7 Brown Sq. Ipsw.ich, MA 01938, please delete this address from my
credit report

Irnp_ortant note: Please delete all Ha'rd Pulls; they had not had my approval or permissible
purpose to do it To enforce my point, I am attaching a certify cope of UCC 11, from Sec. of

State of Massachusetts.
The UCC 11 is a blanket search, which serves to delete all the accounts that I dispute too.

Sincerely,

UV M§£§ 1 "/ _£g__{g..ggf:
Yo.ur eher Datehexe

Pleas'e find enclosed a copy of my Driver Liceuse and Social_ security card to verify identity

Enc.
State of Massa'clr-usetts
"')ss'é

County of Essex

On this /é day of Z),_§¢ , 201'3, before me personally appeared ,fé/,€ !M’ J' ,

known to me by /&/ §§ 6 D¢ .Z, , and to be a living man, who executed the forgoing
instrument and who duly aclmowledged to me that he executed same for the purpose therein

contained In witness whereot_`, I hereunto set my hand and oflici'al seal

My Commission Expires: :/Z-ZS/M/ f g § M-d `

 

 

Case 1:15-Cv-10256-LTS Document 1-1 Filed 02/03/15 Page 30 of 41

 

Ilir Lecaj
15 Juniper Strect
Ipswich, MA, 01938
. '* TransUniQn Coosu_mer Solutions
P-.'O. Box 2000
CHESTER, PA 19022~2000
Date: Dec 116, 2013
Certilie'd lettcr: 7007 022(). 0003 93`()0-‘ 4252
Dear Credit Bureau
I am disputing the following items;
1. GREEN TREE account # esso 2_2968
2. CAPI'I`AL ONE (CAP ONE) account # 4003 4494 3078 0617
3_. CITI (CiTICARDS CBNA) account# 4128 9038 2365 4119
4. BANK OF AMERICA account # 4313 0736 2339 6059
5. TCM BANK account # 4080 3_794 1500

I have no contract‘nor have had any contract with the ahove_mentioned companies and
would like to know exactly the process used by Experian to verify these accounts Please be
advised I have no knowledge of these accmmts, please delete these accounts from my credit

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report.

6. I never lived on '7 `Brown Sq. Ipswich, MA 01938, please delete this address from my l
credit report.

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I`m}gogant note: Please delete all Hard ‘Pull,s; they had not had my approval or permissible
purpose to do it. To enforce my point, lam attaching a certify cope of UCC 11, from See. of

State of Massachusetts.
The UCC 11 is a blanket search, which serves to delete all the accounts that I dispute too.

Since'rel'y,

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Your name her Date here

P_lea'se lind enclosed a copy of my Drlver License and Social security card to verify identity

Enc.
S.ti\£tfe-;.QiilMa_SSa$husctts.-
)ss:

County of Essex
_ - / ` ,
011th ' Zé day Of Dé C< , 2013,_ before me personally appeared Jé/_/_C [é/&J ,

known to me by M 5 Z)¢L= , , and to be a living man, who executed the forgoing
instrument and who duly aclm_owledged t_o me that he executed same for the purpose therein

contained In witness whereof I hereunto set my hand an?Ejial scal.
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Case 1:15-Cv-10256-LTS Document 1-1 Filed 02/03/15 Page 31 of 41`7
l_ _ _=

Ilir Lecaj

15 Juniper Street

Ipswich, Massachusetts 01938
Date'. Jan 24, 2014

VIA Certitied Mail# 7911 2000 OOQQ QZ§Q 1358
Green Tree Servicing LLC
P.O. Box 6176
Rapid City SD, 57709-6176
Phone: 855-675-1030

DEBT DIPUTE AND VMATION OF DEBT

` RE; Yourieaer dated Januazy 10, 2014 Your accounc# 63362296-8

near GREEN TREE sERVICING LLC

I did send you a WQR dated June 20, 2013 and you answered with some print screens of alleged
mortgage, that have nothing to do with me or with you. Even thought the QWR had some very good
questions, I have to apologize for sending you QWR. You are not a bank, (creditor) you are a third party
debt collector; so, a different set of statutes apply to you: FDCPA, FCRA, TCPA and Massachusetts

consumer protection smtues.

I dispute the alleged debt; I do not recall signing any contract between us. You say that you are
serving for Bank of America but in the mean time you say “the account is owned by Fannie Mae”.
Please validate the debt, bring forward any admissible evidence that can prove that I own you

anything.

ln my previous QWR, I asked you how did you attained this account and you never answered
that. lt is my duty to find out if l am paying the right party. Pursue to UCC 3-501, I am entitled to see
and inspect the original wet note.

Pursue FTCA and FDCPA, you do NOT have my permission to report or create any\ account or
pull my credit, I ask you to delete the credit pull from my credit account; you had no permissible
purpose to do it, except if you show same proof, which I doubt. FCRA allows credit pulls only for
creditors with a permissible purpose or with my consent. I spent few hours reading TCPA (15 USC
1861) from 601-626 and could not find anything to justify your pull and report in my account If you try

to sell this account you must mark it as DISPUTED. _
Please be advised that there is private right of action imder TCPA and FDCPA. I am hoping that

we will find a solution of this controversy through private administrative process. This is my second try,
will be waiting 30 more days to get a serious answer from you, but please do not send any copy of
public documents

Please, can show me the trail of my payments made to you, going to where? So I know who am I

paying'?
l will stop paying the alleged debt, upon verifying the debt I will resume payments

Thank you

l l
nirLecaj (sign) ,G'%i' Oljgz date lam 251 ZZ¢Q.ZQ

‘ ` Qase 1:15-Cv-10256-LTS Document 1-1 Filed 02/03/15 Page 32 of 41

llir Lecaj
15 Juniper Street
lpswich, Massachusetts 01938
Date: March l, 2014
VIA Ccrtitied Mail# 7011 2000.9000 9780 7413

Green Tree Servicing LLC

P.O. Box 6176

Rapid City SD, 57709-6176

P.hone: 855~675-1030

`PAY QFF ACCQUNT `PRQPQSAL

RE: Your letter dated F.ebrua\'y 13, 2014 Your account # 68862296-8
Dear GREEN TREE SERVICING LLC

Thank you for your quick response
I will not spend long time to analyze every point of your answer but l will say in general that I

am not convinced that l have to stat resuming the payments

I~I'ere is my proposal:
I am ready to perform and l require you to do the same.
Attached is a copy of banker for $59,550 to pay off the account. I can send you a picture of it if

you ask for onc. My email is ileca"}(ci)il'lsol`t.nct.

You have to determine the location, day and time where I will hand you over the bankers check
and in the same time, you will hand me over the original mortgage note.

l't is my obligation to destroy the original mortgage note so no one else will come back to me and
ask to be paid.
Respectfully

llir Lecaj (sign)

date Magci_t.» 4 gm

 

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3/26/2014. E>¢)erlan - Pr|nlabte Fu|| Report

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Ssp 2013: $0/ Noverrber 4, 2012 / $25 / no data
Aug 2013: $0/ Novanber 4, 2012 / $25 / no data
Ju| 2013: $0 / Novenber 4, 2012 / $25 I no data
Jun 2013: $0 / Novenber 4, 2012 l 525 l no data
troy 2013: $0 / November 4. 2012 / $25 l no data
Apr 2013: $0 / Novenber 4. 2012 / $25 / no data
Mar 2013: $0 / Novenber 4. 2012 l 525 l no data
Feb 2013: $0 / Novenber 4. 2012 / $25 / no data
Jan 2013: $0 / November 4, 2012 / $25 / no data
Dec 2012: $0 l Novenber 4, 2012 1$25 l no data
Nov 2012: $0 l Noverrber 4, 2012 / $25 l $29
Oct 2012: $29 / Decenber 6, 2011 /$25 l no data Credit line
Sep 2012: $0 / Decenber 6. 2011 I$15 l no data
Aug 2012: $O/ Decenber 6. 2011 /$15/no data
Jut 2012: $0 I Decen'ber 8. 2011 l $15/ no data
Jun 2012: $0 l Decerrber 6, 2011 /$15 / no data
May 2012: $0 / Decenber 6. 2011 /$15 / no data
Apr 2012: $0 / December 6, 2011 /$15 / no data
Mar 2012: $O l Decervher 6. 2011 /$15 / no data

Betw sen Mar 2012 and Feb 2014, your credit Hn'itfhtgh balance
w as $500

 

GREEN TREE SERV|C|NG

Address: Account Numl:or:
332 M|NNESOTA ST STE 610 6_886....

SA|NT PAULl MN 55101

(855) 812-1402

Ad¢lress identification Number:

 

 

 

 

 

 

 

 

 

 

0002086540

Fannie Mae tD:

1695409412

Status: NO STATUS. Status Detal|s:
Thls ltern w as updated from our processing of your dlspute |n Jan
2014.

Date Opened: Type: Credit Limit/Ortgtna| Amount:

041/2004 NA NA

Reported Sincc-:: Terms: High Bn|:-ll'lce:

08/2013 2 Years NA

Date of Status: Monthly Pnyment: Rccont Bnlnnoe:

02/2014 NA NA

Lnst Reported: Responsibi|tty: Rncent Payment:

NA hdivldual NA

Your Statement:

Aocount in dispute under Falr O'edlt Bll|lng Act.

KOl-ILBICAPONE

Adclress: Account Number:

PO BOX 3115 639305050172....

M|LWAUKEE. W|53201

(800) 564-5740

Address |dontification Numt)er:

0002086540

Status: Patd.Ctosed/Never late. Status Detui|s: This account is scheduled to continue on
record untlt Nbr 2023.

 

hups://www.e>per|an.com/consun'¢erlcac/FullReport.do 11/29

 

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Fasor 10 0111
Consu mar Credl! Roport for ll.lR X. LECA|

CAP|TAI. ONE BANK llSA NA (Po Bo)t aozsm, sm me cnv. uT amo, 1800)955~7070)
Requesnd om 05/09/20.13

 
     

`.__ ._l_. _`...,._ ..;._.=1 ,- .,_.. ,. ..
GEMB/SAMS (po aox 981400, EL PAso, Tx 79993, (aoo) 964-1917)
_..._Raquosl.arlnm_naltmf 701 11

GREEN TREE SI_ERVtCES LLC (345 _sAmT PETER s'r, sAlNT PAuL, MN 55102. (651) 293-3000)
stemmed on¢ 05/07/2014, 01/06/2014

 

 

 

   
    

 

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STATE FREE DlSCLOSURE (P 0 aox 1000, cHEsTER, PA19022, (aoo) sas-am )
ltequestad Om 10/1,6/2014, 06]23/2014, 03/10/201/4

DlSCOVER FtNCl. SVC LLC (2500 LAx£ cool< Ro, RlvERwooos, lL 60015-3051. (800) 347»2633)
Requastad On: 10/12/201/4

BANI( 0F AMER|CA ( Po aox 952238, EL PASo. Tx 79993»2230. (uoo) 421-2110)
Requested Oru 10102/2014

SYNCB/PAYPALSMARTCONN (Fo Box 965005, ouLANoo. FL 32696-5005. (scs) 300.6432)
Raquelted Om 09[ 211/2014

SVNCB/|C PF.NN£Y ( Po cox 965007. onLANoo, FL 32396»5007, (aes) 227~5213)
Request¢d on; 09/2/¢/20114

lt.lR t.ECA| vla TRANSUN|ON lNTERACTlt/E | (100 cRoss sT, srs 202, sAN Luls oalsP. C.A 93401. (sas) 567-8688)

Permlsslhle immoch CON$UMER R£QUEST
Request¢d 001 09/20/ 201/o

ARS NAT|ONAL ( 201 wrist GRANo. Escom)lno, cA 92025, (800) 456'5053)
Requested one 09/12{2014

 

GREEN TREE SERV|CES LLC ms sAlNr PErER sT. sAlNT PAuL, MN 55102. (651) 293'3400)
Requuted Om 09/03/2014

 

 

 

TRANSUN|¢)N lNTERACTtV£ l t 100 cRoss sr. sle 202, sAN Luls oalsP. ca 93401, (aoa) 561-seam
Pelm|sslbte Furposex CRED|`|' MON|TOR!NG
Req\iest¢¢l On: 08/28/20114

T-MOB|LE (12920 sF. arms sT, sELLElew, wA 98006, (aoo) 937~8997)
Requosted Onc 08/27/201¢

FlA CSNA ( P 0 BOX 902233. £LPASO. m 79995, (aoo) 421-2110)
Requested Ol\: 08/25/2014

FlSERv/CHECKFREE CORP teooo FER|M£TF.R ma. ouBLlN, oH 113017-3233. 1614) 564-3000)
nonuns¢eu am oa/zr/:zom

BANK OF AMER|CA (655 PAPEaM¢LL RD, NEWARK, oE 19711, (aoz) 355-6707)
Requosted 011104/28/2014

|.A.CAMBECE l.AW Ol-'F|CE (4340 s MoNAco sr. DENVER. co 30237. (ssa) 200.933'1)
Requesled Om 0/»/03/ 2014

CO|.|.ECT AMERtCA v|a CACH t.LC tmo s MoNAco, mo noon, oENvER. co 80237, (303) 296-3345)
nnnlsstvm Purpose: 10 AcQumE/s£nvlcE/msuk€ AccouNT
Requosted on; 03/ 20/'1014

CAVALRY PORTFOL|O SVCS 1500 suMMlT LAKE DR, sra 44. vALHALLA, NY 10595, (aoo) 501-0909)
Requosted am 02/ 20/2016

DISCOVER FlNANC|AL SERV| (2500 LAKE cook RoA, RIVERwooos. lL 60015, (aoo) 347-2633)
Requaster| cm 01 108/2014

CAPI'I'AL ONE BANK USA NA (PO BOX 30281, SALT LAKE ClTY, UT 34130, (800) 955-7070)
Raquest¢d Om 01/01/2014

To dispute onllne go to: gng;[[;ggg;gg!gn.cg_mj_gj§p_uteonlw

Fl|o Numbar= 3 3788/¢662 Data tssuadz 10116/2014

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